                                                                                                           Case 10-18337                   Doc 1        Filed 04/15/10             Page 1 of 14
                                                                     B1 (Official Form 1) (4/10)
                                                                                                           United States Bankruptcy Court
                                                                                                                District of Maryland                                                                        Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                            Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      George T. Moran, Inc.
                                                                      All Other Names used by the Debtor in the last 8 years                                All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                           (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
                                                                      EIN (if more than one, state all): XX-XXXXXXX                                         EIN (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                      Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      696 Ritchie Hwy
                                                                      Severna Park, MD
                                                                                                                             ZIPCODE 21146-3913                                                                    ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                            County of Residence or of the Principal Place of Business:
                                                                      Anne Arundel
                                                                      Mailing Address of Debtor (if different from street address)                          Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                               ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):
                                                                      696 Ritchie Hwy, Severna Park, MD
                                                                                                                                                                                                                   ZIPCODE 21146-3913
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                                                                                         Type of Debtor                                      Nature of Business                          Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                              the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                               Chapter 7                Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11          Chapter 9                Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                              ü   Chapter 11               Main Proceeding
                                                                     ü  Corporation (includes LLC and LLP)
                                                                        Partnership
                                                                                                                                   Railroad
                                                                                                                                   Stockbroker
                                                                                                                                                                                      Chapter 12
                                                                                                                                                                                      Chapter 13
                                                                                                                                                                                                               Chapter 15 Petition for
                                                                                                                                                                                                               Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                            Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                        Nature of Debts
                                                                                                                                 ü Other                                                                (Check one box.)

                                                                                                                                              Tax-Exempt Entity
                                                                                                                                                                                      Debts are primarily consumer
                                                                                                                                                                                     debts, defined in 11 U.S.C.
                                                                                                                                                                                                                         ü
                                                                                                                                                                                                                         Debts are primarily
                                                                                                                                                                                                                         business debts.
                                                                                                                                           (Check box, if applicable.)               § 101(8) as “incurred by an
                                                                                                                                   Debtor is a tax-exempt organization under         individual primarily for a
                                                                                                                                   Title 26 of the United States Code (the           personal, family, or house-
                                                                                                                                   Internal Revenue Code).                           hold purpose.”
                                                                                          Filing Fee (Check one box)                                                              Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     üFull Filing Fee attached                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals      üDebtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee
                                                                        except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                                                              üDebtor’s aggregate noncontingent liquidated debts owed to non-insiders or affiliates are less
                                                                                                                                               than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR
                                                                      ü  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                                                                                                                                       COURT USE ONLY

                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                               ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-          10,001-          25,001-          50,001-         Over
                                                                                                                        5,000          10,000          25,000           50,000           100,000         100,000
                                                                     Estimated Assets
                                                                     ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                                          ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                                       Case 10-18337                Doc 1        Filed 04/15/10               Page 2 of 14
                                                                     B1 (Official Form 1) (4/10)                                                                                                                            Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          George T. Moran, Inc.

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                       (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                                                Case 10-18337             Doc 1          Filed 04/15/10                Page 3 of 14
                                                                     B1 (Official Form 1) (4/10)                                                                                                                                                    Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 George T. Moran, Inc.

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X                                                                                          Signature of Foreign Representative
                                                                          Signature of Debtor

                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          Date

                                                                                                      Signature of Attorney*                                               Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Brett Weiss                                                                   preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Brett Weiss 02980                                                                 110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                          Chung & Press, LLC                                                                pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          18200 Littlebrooke Drive                                                          chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Olney, MD 20770                                                                   notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                          lawyer@brettweiss.com                                                             section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          April 15, 2010
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)                             X
                                                                                                                                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                      I declare under penalty of perjury that the information provided in this                   partner whose social security number is provided above.
                                                                      petition is true and correct, and that I have been authorized to file this
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Names and Social Security numbers of all other individuals who
                                                                      United States Code, specified in this petition.                                       prepared or assisted in preparing this document unless the bankruptcy
                                                                                                                                                            petition preparer is not an individual:
                                                                      X   /s/ Charles David Wallace
                                                                          Signature of Authorized Individual

                                                                          Charles David Wallace                                                             If more than one person prepared this document, attach additional
                                                                          Printed Name of Authorized Individual                                             sheets conforming to the appropriate official form for each person.
                                                                          President                                                                         A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Title of Authorized Individual                                                    of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                          April 15, 2010                                                                    in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                     B4 (Official Form 4) (12/07)            Case 10-18337                   Doc 1          Filed 04/15/10               Page 4 of 14
                                                                                                                                     United States Bankruptcy Court
                                                                                                                                          District of Maryland

                                                                     IN RE:                                                                                                                     Case No.
                                                                     George T. Moran, Inc.                                                                                                      Chapter 11
                                                                                                                            Debtor(s)

                                                                                                    LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                     Following is the list of the debtor’s creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this
                                                                     chapter 11 [or chapter 9] case. The list does not include (1) persons who come within the definition of “insider” set forth in 11 U.S.C. § 101, or (2) secured creditors unless
                                                                     the value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the creditors
                                                                     holding the 20 largest unsecured claims, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                     guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                                                               (1)                                                        (2)                                    (3)                  (4)                    (5)
                                                                          Name of creditor and complete mailing address            Name, telephone number and complete mailing            Nature of claim      Indicate if claim        Amount of
                                                                                       including zip code                          address, including zip code, of employee, agent          (trade debt,         is contingent,           claim (if
                                                                                                                                    or department of creditor familiar with claim            bank loan,          unliquidated,         secured also
                                                                                                                                                who may be contacted                        government            disputed or          state value of
                                                                                                                                                                                           contract, etc.)     subject to setoff          security)
                                                                     Commerce First Bank                                                                                                                                                 354,630.38
                                                                     1804 West St                                                                                                                                                        Collateral:
                                                                     Annapolis, MD 21401-3945                                                                                                                                                  0.00
                                                                                                                                                                                                                                        Unsecured:
                                                                                                                                                                                                                                         354,630.38
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                                                                     Hillman, Brown & Darrow                                                                                                                                              50,503.68
                                                                     221 Duke of Gloucester St
                                                                     Annapolis, MD 21401-2506
                                                                     Commerce First Bank                                                                                                                                                  37,001.00
                                                                     1804 West St                                                                                                                                                        Collateral:
                                                                     Annapolis, MD 21401-3945                                                                                                                                                  0.00
                                                                                                                                                                                                                                        Unsecured:
                                                                                                                                                                                                                                          37,001.00
                                                                     George T. Moran                                                                                                       Bank loan                                      33,000.00
                                                                     3020 Bennett Point Rd
                                                                     Queenstown, MD 21658-1124
                                                                     Chase Bankcard Svcs Inc                                                                                                                      Disputed                 26,086.64
                                                                     PO Box 30755
                                                                     Tampa, FL 33630-3755
                                                                     William Simmons, Esq.                                                                                                 Bank loan                                       22,061.23
                                                                     20 West St
                                                                     Annapolis, MD 21401-2421
                                                                     Internal Revenue Service                                                                                              Bank loan                                       19,402.00
                                                                     PO Box 21126
                                                                     Centralized Insolvency Unit
                                                                     Philadelphia, PA 19114
                                                                     Utica Insurance Company                                                                                               Bank loan                                       14,646.00
                                                                     PO Box 530
                                                                     Utica, NY 13503
                                                                     Shelley Aaserud Consultant Services                                                                                   Bank loan                                       10,086.00
                                                                     8013 Weedsport Sennett Rd
                                                                     Weedsport, NY 13166-9756
                                                                     State of Maryland                                                                                                                                                       9,415.00
                                                                     Comptroller of the Currency
                                                                     301 W Preston St Ste 409
                                                                     Baltimore, MD 21201-2396
                                                                     Killey & Associates                                                                                                   Bank loan                                         7,780.93
                                                                     301 International Cir
                                                                     Cockeysville, MD 21030-1334
                                                                     Nationwide Financial                                                                                                  Bank loan                                         5,368.94
                                                                     1 W Nationwide Blvd
                                                                     Columbus, OH 43215-2226
                                                                                                        Case 10-18337              Doc 1        Filed 04/15/10            Page 5 of 14
                                                                     Catlen Computer                                                                                                                                    5,097.50
                                                                     PO Box 16228
                                                                     Baltimore, MD 21210-0228
                                                                     USI                                                                 Bank loan                                                                      4,938.67
                                                                     PO Box 1407
                                                                     Merrifield, VA 22116-1407
                                                                     Smart Computing Services                                            Bank loan                                                                      4,158.42
                                                                     201 Ridgely Ave
                                                                     Annapolis, MD 21401-1366
                                                                     Joan Devoe                                                          Bank loan                                                                      3,675.00
                                                                     309 Overview Dr
                                                                     Abingdon, MD 21009-1057
                                                                     Staples                                                             Bank loan                                                                      2,734.45
                                                                     500 Staples Dr
                                                                     Framingham, MA 01702-4478
                                                                     Delta Telephone                                                                                                                                    2,446.72
                                                                     2131 Espey Ct
                                                                     Crofton, MD 21114-2439
                                                                     Annapolis Chamber Of Commerce                                                                                                                      1,855.00
                                                                     PO Box 346
                                                                     Annapolis, MD 21404-0346
                                                                     Atlantic Specialty Advertising                                                                                                                     1,819.53
                                                                     45 Solomons Island Rd #202
                                                                     Annapolis, MD 21401
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                                                                                  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                                                                     I, [the president or other officer or an authorized agent of the corporation][or a member or an authorized agent of the partnership] named as the debtor
                                                                     in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.


                                                                     Date: April 15, 2010                           Signature: /s/ Charles David Wallace


                                                                                                                                 Charles David Wallace, President
                                                                                                                                                                                                                 (Print Name and Title)
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                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Maryland

                                                                     IN RE:                                                                                  Case No.
                                                                     George T. Moran, Inc.                                                                   Chapter 11
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: April 15, 2010                   Signature: /s/ Charles David Wallace
                                                                                                                         Charles David Wallace, President                                        Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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Ameritech
3262 Superior Ln # 268
Bowie, MD 20715-1900


Annapolis Chamber Of Commerce
PO Box 346
Annapolis, MD 21404-0346


Annapolis Opera
801 Chase St # 304A
Annapolis, MD 21401-3530


Anne Arundel County, Maryland
PO Box 427
Annapolis, MD 21404-0427


Atlantic Specialty Advertising
45 Solomons Island Rd #202
Annapolis, MD 21401


Automatic Response Technologies
1150 Calle Cordillera
San Clemente, CA 92673-4209


BB&B
929 West St Ste 106
Annapolis, MD 21401-3696


Burnham & Comp
474 Sylvan Ave # R
Englewood Cliffs, NJ        07632-2922


Catlen Computer
PO Box 16228
Baltimore, MD 21210-0228
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Cavalier Phone Co.
PO Box 9001111
Louisville, KY 40290-1111


Centric
PO Box 75222
Baltimore, MD     21275-5222


Chase Bankcard Svcs Inc
PO Box 30755
Tampa, FL 33630-3755


Chesapeake Telephone Systems
8225A Cloverleaf Dr
Millersville, MD 21108-1524


CIT Technologies
PO Box 550599
Jacksonville, FL        32255-0599


CNA Surety Bonds
PO Box 5077
Sioux Falls, SD 57117-5077


Coca Cola
PO Box 100712
Atlanta, GA 30384-0712


Comcast Cable
8110 Corporate Dr
Baltimore, MD 21236-5034


Commerce First Bank
1804 West St
Annapolis, MD 21401-3945
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Deer Park
50 Commerce Way
Norton, MA 02766-3313


Delta Telephone
2131 Espey Ct
Crofton, MD 21114-2439


Doris Egan
1446 Curlew Ave
Naples, FL 34102-3444


Doris Egan
2409 Ravenview Rd
Lutherville Timonium, MD         21093-2717


Federal Express
PO Box 371461
Pittsburgh, PA 15250-7461


FlexAmerica
13511 Label Ln Ste 201
Hagerstown, MD 21740-2463


George T. Moran
3020 Bennett Point Rd
Queenstown, MD 21658-1124


Hillman, Brown & Darrow
221 Duke of Gloucester St
Annapolis, MD 21401-2506


Home Depot Credit Services
Citicard Private Label
PO Box 20483
Kansas City, MO 64195-0483
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 Idea Media
 PO Box 619009
 Dallas, TX 75261-9009


 Internal Revenue Service
 PO Box 21126
 Centralized Insolvency Unit
 Philadelphia, PA 19114


 Joan Devoe
 309 Overview Dr
 Abingdon, MD 21009-1057


 Killey & Associates
 301 International Cir
 Cockeysville, MD 21030-1334


 Kramon & Graham
 1 South St
 Baltimore, MD 21202-3298


 LaserScript
 6660 Dobbin Rd Ste J
 Columbia, MD 21045-4844


 LegalLink
 7654 Standish Pl
 Derwood, MD 20855-2701


 Lexis-Nexis
 PO Box 934899
 Atlanta, GA 31193-4899


 Marcom Marketing
 PO Box 1046
 Severna Park, MD       21146-8046
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 Maryland Arborist
 PO Box 712
 Brooklandville, MD       21022-0712


 Media Two, Inc.
 3301 Lancaster Pike Ste 5C
 Wilmington, DE 19805-1436


 Mehlman Greenblatt Hare, LLC
 723 S Charles St # LL4
 Baltimore, MD 21230-3811


 Mike Egan Agency, Inc.
 5706 Bellona Ave
 Baltimore, MD 21212-3561


 Mike Egan Insurance, Inc.
 2409 Ravenview Rd
 Lutherville Timonium, MD 21093-2717


 Mike J. Egan
 2409 Ravenview Rd
 Lutherville Timonium, MD         21093-2717


 Mike J. Egan
 1446 Curlew Ave
 Naples, FL 34102-3444


 Minuteman Press
 1209 Shopping Center Rd
 Stevensville, MD 21666-4048


 Montana Department Of Revenue
 PO Box 8021
 Helena, MT 59604-8021
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 Mutual Of Omaha
 5th Floor, Mutual of Omaha Plaza
 Omaha, NE 68175-0001


 Nancy J. Egan
 1004 Deer Ridge Dr
 Baltimore, MD 21210-2518


 National Registered Agents
 PO Box 927
 Stockton, NJ 08559


 Nationwide Financial
 1 W Nationwide Blvd
 Columbus, OH 43215-2226


 NCCI
 12218 Collections Center Dr.
 Chicago, IL 60693-0001


 Nissan Motor Accept. Cor
 PO Box 660360
 Dallas, TX 75266-0360


 Peerless Insurance
 PO Box 2050
 Keene, NH 03431-7050


 Pension Alliance, Inc.
 2578 Interstate Dr Ste 102
 Harrisburg, PA 17110-9301


 Preferred Insurance Services
 10484 Armstrong St
 Fairfax, VA 22030-3648
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 Severna Park Voice Newspaper
 PO Box 608
 Severna Park, MD 21146-0608


 Shelley Aaserud Consultant Services
 8013 Weedsport Sennett Rd
 Weedsport, NY 13166-9756


 Smart Computing Services
 201 Ridgely Ave
 Annapolis, MD 21401-1366


 Staples
 500 Staples Dr
 Framingham, MA     01702-4478


 State of Maryland
 Comptroller of the Currency
 301 W Preston St Ste 409
 Baltimore, MD 21201-2396


 The Mines Press
 231 Croton Ave
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